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Christine M. Reisen

Positions Held

May 1998 - present Forensic Chemist: Eastern Nebraska Forensic Tah - involved with all metropolitan
Omaha forensic type law enforcement drug testing, test badily fluids for
alcohol and dmg levels, confidential and accurate record keeping, sample
management, fesearch and testing of ucw diupgs, reporting results and
laboratory equipment maintenance.

Aug 1995 - May 1998 | Technical Support Specialist. Abbott Diagnostics Division - responsible for 4+
state area installing laboratory equipment, troubleshooting and assisting
customers with technical issues.

Sept 1990 - Aug 1995 | Medical Technologist: Physicians Laboratory Services - served as a technologist
in Chemistry, Special Chemistry and RLA departments performing analysis,
documenting results and maintaining laboratory equipment.

Sept 1992 - Ang 1995 | Medical Technologist: St. Joseph Hospital - served as a generalist medical technolo-
gist for the 11-7 shift of trauma hospital, performing all areas of laboratory
testing, reporting results and laboratory cyuipmrent maintenance.

Professional Organizations
American Society of Clinical Pathologists - registered medical technologist
Midwestem Association of Forensic Scientists

Licenses

Registered Medical Technologist, ASCP

Class A permit Alcohol content testing permit from the State of Nebraska
Class D Drug Detection testing permit from the State of Nebraska

Class D Drug Screening testing permit from the State of Nebraska
Certification in Arson Accelerant Detection trom the CCI

GOVERNMENT
EXHIBIT

Pa/EB FWHd ONI TA4Na GBLPIPEZaPT S@:9% 4a0a/eT/T@
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August 1989

July 1989

October 1995

December 7-11, 1998

April 27-29, 1999

Sept 27- Oct 1, 1999

November 1-5, 1999

ba/pPa FO¥d

Christine M. Reisen
709 S, 20th St.

Omaha, NE 68102
(402) 346-4764

Qualifications

~16 years experience in laboratory setting (6 years medical lecbnologist, 2 years tech-

nical support specialist, 8 years forensic chemistry)

-knowledge of chemistry due to education and continual on-the-job training from Mr.

William Thm (27 years experience in forensic chemistry)
-attendance in training seminars and schools

-current holder of Class A permit, Class D drug detection permit and Class D drug

screening permit.

Education

Rachelor of Science - Medical Technology (major), Chemistry (minor) - Wayne State

College; Wayne, NE

Medical Technology Certification - Marian Health Center - Sioux City, LA

Awards
Abbott Diagnostics Division
Technical Support Specialist of the Quarter - Chicago Region

Training
Abbott Diagnostics Division
ADx Training Schoal
TDx/FLx Training School
Drug Enforcement Administration
Forensic Chemist Training School
Midwestern Association of Forensic Scientists
Interpretation of Mass Spectra
California Criminalistics Institute
Arson Accelerant Detection
Clandestine Laboratory Investigators Association
Clandestine Laboratory Awareness Program

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